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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

  CENTER FOR BIOLOGICAL                 )
  DIVERSITY, et al.,                    )
                                        )
        Plaintiffs,                     )               Case Nos. 1:18-cv-112-JEB
                                        )                         1:18-cv-283-JEB
           v.                           )
                                        )
  GINA RAIMONDO, in her official        )               FEDERAL DEFENDANTS’
  capacity as Secretary of Commerce, et )               NOTICE REGARDING
  al.,                                  )               UPDATED NORTH ATLANTIC
                                        )               RIGHT WHALE
      Federal Defendants, and           )               ENTANGLEMENT RISK
                                        )               REDUCTION MODELING
  MAINE LOBSTERMEN’S                    )               ESTIMATE
  ASSOCIATION, et al.,                  )
                                        )
      Intervenor-Defendants.            )
_____________________________________)

       Federal Defendants, Gina Raimondo, in her official capacity as the Secretary of

Commerce, Janet Coit, in her official capacity as the Assistant Administrator for the National

Oceanic and Atmospheric Administration Fisheries, and the National Marine Fisheries Service

(“NMFS”) (collectively, “Federal Defendants”), hereby provide the Court notice of an update to

NMFS’s modeling estimate of North Atlantic right whale mortality/serious injury (“M/SI”)

entanglement risk reduction. As explained in Federal Defendants’ summary judgment briefs,

NMFS and the Atlantic Large Whale Take Reduction Team (“TRT”) began work in 2018 on a

new Atlantic Large Whale Take Reduction Plan (“TRP”) amendment that aimed to reduce the

risk of North Atlantic right whale M/SI from entanglement in Northeast Region lobster and

Jonah crab trap/pot fisheries. See Dkt. 203 at 2; Dkt. 214 at 9. NMFS finalized this amendment

as the 2021 Atlantic Large Whale Take Reduction Plan Amendment Rule (“2021 TRP

Amendment Rule”). At the time of the rulemaking, NMFS, relying on a peer-reviewed risk




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reduction estimation model called the Decision Support Tool (“DST”), calculated that the

measures required by the 2021 TRP Amendment Rule would reduce M/SI entanglement risk by

approximately 60%. Dkt. 203 at 2, 35. Since that time, new and better data and methods have

become available and have been incorporated into the DST, including new fishery effort and

whale density data as well as improved methods for determining fishery effort and gear

distribution. See Exhibit 1, 08/18/22 Declaration of Colleen Coogan ¶ 4. NMFS now estimates

that the measures implemented by the 2021 TRP Amendment Rule reduce North Atlantic right

whale M/SI entanglement risk by approximately 48%. Id. ¶ 5. NMFS and the TRT will be using

this new estimate going forward when assessing future regulatory actions that are necessary to

reduce North Atlantic right whale entanglement risk. Id. ¶ 7. Federal Defendants will explain

further implications of this updated risk reduction estimate in their remedy brief, which is

currently due by September 19. 07/22/22 Minute Order.


Dated: August 18, 2022                        Respectfully submitted,

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                                              Environment & Natural Resources Division

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